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                    THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,               )            4:04CR3081
                                        )
                    Plaintiff,          )
                                        )
      vs.                               )            MEMORANDUM
                                        )            AND ORDER
BRIAN LAMAR PARKER,                     )
                                        )
                    Defendant.          )

       Defendant has moved for an extension of time (filing 61) within which to respond
to the Magistrate Judge’s Report and Recommendation (filing 60). Defendant’s counsel
represents that counsel for the United States has no objection to Defendant’s motion.
Accordingly,

      IT IS ORDERED:

      1.     Defendant’s motion for an extension of time (filing 61) within which to
             respond to the Magistrate Judge’s Report and Recommendation (filing 60)
             is granted;

      2.     Defendant’s response to the Magistrate Judge’s Report                 and
             Recommendation shall be filed on or before May 4, 2005; and

      3.     The Clerk of Court shall adjust the court’s internal computerized record-
             keeping system to reflect that the “response due” date on Filing 60 is now
             May 4, 2005.

      DATED this 27th day of April, 2005.

                                        BY THE COURT:
                                        s/Richard G. Kopf
                                        United States District Judge
